     Case 2:23-bk-12747-VZ            Doc 198 Filed 06/20/24 Entered 06/20/24 11:38:50               Desc
                                        Main Document Page 1 of 1



1
2
                                                                         FILED & ENTERED
3
4                                                                               JUN 20 2024
5
                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                           Central District of California
6                                                                          BY carranza DEPUTY CLERK


7
8
                                    UNITED STATES BANKRUPTCY COURT
9
                  CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
10
     In re:                                            Case No.: 2:23-bk-12747-VZ
11                                                     CHAPTER 11
     Jong Uk Byun
12                                                     ORDER SETTING NEW DATE FOR POST-
                                                       CONFIRMATION STATUS CONFERENCE
13
                                                       Current Hearing
14                                                     Date: August 22, 2024
                                        Debtor(s).     Time: 10:00 a.m.
15
16                                                     Continued Hearing
                                                       Date: August 29, 2024
17                                                     Time: 10:00 a.m.
                                                       Ctrm: 1368, Roybal Federal Building
18                                                        255 E. Temple St., Los Angeles, CA 90012

19
20             Based on the court’s schedule, IT IS ORDERED that the post-confirmation status

21   conference will take place on August 29, 2024 at 10:00 a.m. instead of on August 22, 2024.

22                                                   ###
23
24
25
              Date: June 20, 2024
26
27
28




                                                      -1-
